[Cite as In re M.B., 2024-Ohio-3239.]



                                   IN THE COURT OF APPEALS

                          TWELFTH APPELLATE DISTRICT OF OHIO

                                        WARREN COUNTY




 IN RE:                                       :

        M.B., et al.                          :     CASE NOS. CA2024-03-009
                                                              CA2024-03-010
                                              :               CA2024-03-011
                                                              CA2024-03-012
                                              :               CA2024-03-013
                                                              CA2024-03-014
                                              :
                                                             OPINION
                                              :               8/26/2024




           APPEAL FROM WARREN COUNTY COURT OF COMMON PLEAS,
                              JUVENILE DIVISION
                Case Nos. 22-D000044, 22-D000045 and 22-D000046


Lauren L. Clouse, attorney for appellant, father.

Tyrone P. Borger, attorney for appellant, mother.

David P. Fornshell, Warren County Prosecuting Attorney, and Kirsten A. Brandt, Assistant
Prosecuting Attorney, for appellee.



        HENDRICKSON, J.

        {¶ 1} Appellants, the biological mother and father of My.B., Me.B, and T.B.,

separately appeal from a decision of the Warren County Court of Common Pleas,

Juvenile Division, granting permanent custody of their children to appellee, Warren
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County Children's Services ("the Agency").1 For the reasons discussed below, we affirm

the juvenile court's decision.

        {¶ 2} Mother and Father, who are married, originally resided with their three

children, My.B., born September 14, 2006, Me.B., born December 19, 2008, and T.B.,

born December 18, 2009, in California. They moved east and settled in Kentucky for a

brief period of time before moving to Ohio. The family was homeless, living in a tent. The

Agency became involved with the family when, on June 30, 2022, all five members of the

family went to Urgent Care. Father claimed they had been exposed to pesticides while

Mother claimed they all had heat stroke. My.B. and Me.B. had bruises on their feet and

ankles and all the children had trench foot.2 The children were wearing multiple layers of

clothing, despite it being 90 degrees outside, and reported that they bathed only when

swimming. The children had not regularly attended school since before the COVID-19

pandemic began, and Mother claimed that she was unaware that schools had "opened

back up" following the pandemic. Neither Me.B. nor T.B. knew their birthdays.

        {¶ 3} The children were removed from their parents' care and placed in the

emergency shelter care and temporary custody of the Agency. A court-appointed special

advocate ("CASA") was appointed for the children. On July 1, 2022, complaints were

filed alleging that the children were neglected and dependent children. Following certain

stipulations of fact from Mother and Father, the children were adjudicated neglected and

dependent on August 31, 2022.              A dispositional hearing was held on September 28,

2022. In both instances, the juvenile court continued the order of temporary custody with


1. Mother's and Father's appeals were consolidated after appellate briefing was concluded. In re M.B., et
al., Warren Nos. CA2024-03-009 thru CA2024-03-014 (July 30, 2024) (Entry of Consolidation).

2. Trench foot is "a painful foot disorder resembling frostbite and resulting from prolonged exposure to cold
and wet." Merriam-Webster Online, https://www.merriam-webster.com/dictionary/trench%20foot (accessed
Aug. 13, 2024).

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the Agency. Mother and Father were granted supervised visitation with the children.

       {¶ 4} The Agency created a case plan for Mother's and Father's reunification with

the children, and this plan was adopted by the juvenile court. The case plan required

Mother and Father to each complete psychological evaluations and follow through with

all recommendations, obtain and maintain stable housing and income sufficient to meet

the needs of the children, complete parenting classes and demonstrate learned skills,

cooperate with the Agency, sign all releases giving the Agency access to certain records,

and attend the children's medical appointments.

       {¶ 5} Mother and Father began to work on the case plan, both undergoing

psychological examinations.      Mother's evaluation did not result in any diagnoses.

Father's evaluation resulted in a bipolar I diagnosis and a recommendation that he

engage in therapeutic services one-to-four times a month.

       {¶ 6} Initially, Mother and Father consistently exercised weekly visitation with the

children at the Agency's "Town Home" visitation center. Father missed visitations near

the end of January 2023 and in February 2023 as he was in jail after violating the terms

of his probation on an underlying theft charge. When Mother and Father visited the

children, they brought Father's dog to the visits. The dog, a chihuahua-beagle mix, is

Father's therapy dog, though it is not a licensed service animal. In May 2023, after an

incident where the dog made other families at the visitation center uncomfortable, Mother

and Father were told they could no longer bring the animal to visitations. This led to an

angry and aggressive outburst by Mother and Father. In addition to both parents yelling

at Agency case aides, Mother also made a crude hand gesture towards the aides and

threw a 2-liter pop bottle at a car. Mother's and Father's visitations with the children were

suspended after this event. The visitations were not reinstated until the end of September


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2023. Shortly thereafter, at the beginning of October 2023, the juvenile court adopted a

modification to Mother's and Father's case plan to add the requirement that Mother and

Father complete anger management.

      {¶ 7} Once Mother's and Father's visitations restarted, Mother and Father chose

to break the two-hour visitations into one-hour increments, with one parent visiting with

the children for an hour while the other parent sat outside with the dog. They would then

switch places so that the other parent had an hour of visitation with the children. The

parents employed this method of visitation for a period of time. However, near the end of

November 2023, Father decided to stop visiting the children.

      {¶ 8} On November 13, 2023, the Agency moved for permanent custody of My.B.,

Me.B, and T.B. A hearing on the Agency's motion was scheduled for February 12, 2024.

Prior to the hearing, on January 29, 2024, the CASA filed a report recommending that the

Agency be granted permanent custody of the children.

      {¶ 9} At the permanent custody hearing, the juvenile court heard testimony from

the Agency supervisor assigned to the family's case (the "Agency supervisor"), the

children's CASA, Mother, and Father. The Agency supervisor testified that she has been

assigned to the family's case since July 2023. After describing the circumstances that

led to the Agency's involvement—the family's homelessness, the family's need for

medical attention, the children being unenrolled from school for over three years, and the

children being unable to answer personal questions about themselves—the supervisor

discussed the progress the children had made while in foster care. At the time of the

hearing, My.B. was 17 years old, Me.B. was 15 years old, and T.B. was 14 years old.

When the children were initially removed from Mother's and Father's care on June 30,

2022, they were placed in group homes, with T.B. being placed in a separate group home


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than his sisters. However, in July 2022, the children were placed in a foster home

together. The children have remained in this foster home throughout the pendency of the

case. Though their current foster parents do not wish to adopt the children, the foster

parents are willing to be a permanent placement for the children until they turn 18 years

old. All three of the children have an independent living plan as part of the Agency's case

plan.

        {¶ 10} At the time the Agency became involved with the family in June 2022, the

children had not been to school in over three years. Records revealed the children had

been disenrolled from a school in California in November 2018. The only other record of

them attending school was an online enrollment into Ohio Virtual Academy, which

occurred on January 8, 2020. However, they were disenrolled later that month due to

nonattendance. Once placed in the Agency's temporary custody, the children were re-

enrolled in school. Though the children were educationally behind their peers and Me.B

and T.B. had to be placed on individualized education programs, the children are now

doing well in school. My.B. attends a technical school where she takes E.M.T. classes

and is preparing for real-world experiences. Me.B. is an honor student, has been named

student of the month, and participates in color guard. T.B. is also doing great in school

and was recently recognized as "student of the quarter." My.B. and Me.B. both see a

school counselor.

        {¶ 11} The Agency supervisor testified that Mother and Father had made limited

progress on the case plan and had failed to remedy the conditions that led to the children's

removal. Both Mother and Father had undergone a psychological assessment, with

Father receiving a bipolar I diagnoses. Father had also reported an earlier diagnosis of

a dissociative disorder. Though it was recommended that Father engage in therapeutic


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services one-to-four times a month, the Agency was never able to verify that Father

engaged in such services. Father claimed to be in counseling, but he refused to tell the

Agency the name of his therapeutic provider or how often he received treatment.

        {¶ 12} Neither Mother nor Father had enrolled in or completed parenting classes

or anger management. Mother informed the Agency that she does not have time for case

services. Neither Mother nor Father have attended or made efforts to attend the children's

medical appointments or counseling sessions. They also do not regularly communicate

with the Agency, despite the Agency making multiple attempts each month to contact

them.

        {¶ 13} Mother and Father had not obtained stable housing and had not

demonstrated they could financially support a family of five. Though the Agency provided

Mother and Father with resource guides meant to help them find suitable housing, Mother

and Father remained homeless. Mother and Father stayed in tents, various hotels, and

an RV that was given to them. The RV lacked running water and electricity and was not

always in working condition. When the RV broke down and had to be repaired, Mother

and Father stayed in a hotel room for two months.           Mother and Father did not

communicate with the Agency about where they were staying and, at times, refused to

tell the Agency where the RV was parked.

        {¶ 14} Mother and Father claimed to be searching for a home or apartment to rent

and indicated they were on various waiting lists. Mother's and Father's efforts to obtain

a rental unit are hindered by the fact that they have previously been evicted and they

refuse to live anywhere that will not accept Father's dog. The presence of the dog has

also prevented Mother and Father from staying at various shelters, as the shelters do not

allow animals.


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       {¶ 15} Mother has held multiple jobs throughout the life of the case, working at

Wendy's, Frisch's, Kroger, and Subway. Mother was fired from a couple of those jobs

and voluntarily left the other jobs in search of higher pay. Mother never provided the

Agency with verification of her income but she claimed to make $10 an hour at Subway,

her most recent place of employment. Mother takes an Uber to and from work. She pays

for the Uber with gift cards that were provided to her by family members. Mother pays

$225 in child support every two weeks. Father has not been employed throughout the

life of the case, though he does receive approximately $1,057 in social security disability

income each month due to a spinal cord injury.

       {¶ 16} The Agency supervisor discussed Mother's and Father's visits with the

children, noting that other than when visits were suspended from May 2023 until

September 2023, Mother has regularly visited the children.         Mother's visits with the

children go well, although there are times where Mother maintains focus solely on My.B.

rather than sharing focus equally between all three children. Outside of the supervised

visitations at the Agency's Town House, Mother has contact with My.B. via phone calls

and video calls. She also uses Snapchat to communicate with My.B.

       {¶ 17} Father's last visit with the children occurred on November 27, 2023. Father

voluntarily stopped attending visits without notifying the Agency. He has not had any

contact with the children since then. He has not engaged in video calls, phone calls, or

sent correspondence to the children. The supervisor opined that when Father did visit

the children, he had more of a "friend relationship" with the children.

       {¶ 18} The supervisor testified that throughout the life of the case, the Agency

attempted to find family members with whom they could place the children. Efforts were

made to place the children with a maternal aunt, paternal grandparents, and a paternal


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aunt. While paternal grandparents and paternal aunt began proceedings to undertake

custody of the children, they both later withdrew their applications. No other viable family

or kinship members were available to take custody of the children.

       {¶ 19} The children's CASA testified that she has been involved in the case since

July 2022. She noted that the children are doing "excellent" and have adjusted well in

their current foster home and respective schools. She testified that My.B. wants to stay

in her current foster home and finish high school and opined that both Me.B. and T.B. are

adoptable. The CASA noted that Mother and Father were aware of what was required of

them under the case plan and that she had encouraged them to take parenting classes

online. Mother told the CASA, "I don't need to take parenting classes. They're teenagers.

That's for people with younger kids." At no point in time did Mother or Father indicate

transportation issues prevented them from accessing case plan services. It was the

CASA's opinion that it was in the children's best interests for permanent custody to be

granted to the Agency due to Mother's and Father's lack of progress in completing case

plan services.

       {¶ 20} Mother testified about her lack of progress in completing case plan services.

She indicated she has not been able to complete case plan services because she was

too busy working and earning money for the family. Mother testified that she works six

days a week at Subway and that she has successfully paid off some eviction judgments

that had been rendered against her. Mother also testified that she has been searching

for an apartment to rent and has put her name on five different waiting lists for a two-

bedroom apartment. For the past two months, she and Father have been living at a hotel

because their RV needed repairs.

       {¶ 21} Mother also indicated that she has not completed parenting classes and


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anger management because she did not know how to access the services. According to

Mother, she never received papers on "who to call or where to go." Although Mother

knew she could take the parenting classes online, she stated the cost prevented her from

taking them. However, on cross-examination, she indicated she did not know how much

they cost.

       {¶ 22} Mother testified that she exercises her visitation every week and has done

so except when visitations were suspended. In addition to providing meals for the children

at visitation, she also buys the children gifts, such as candy, toys, Christmas presents,

and Valentine's Day presents.         Mother testified she most recently spent $200 on

Valentine's gifts for the children.

       {¶ 23} On cross-examination, Mother admitted that "nothing has changed" since

the children were removed from her and Father's care in 2022. Despite her working and

Father contributing his social security disability funds, she and Father are still homeless

and do not earn enough money to support a family of five.

       {¶ 24} Father testified that after his psychological evaluation, he engaged in

counseling services at Butler Behavioral Health.      He claims he has been attending

sessions two-to-four times a month, though he could not recall his counselor's name and

the Agency never received any reports indicating that he was participating in counseling.

Father indicated his counselor had recently retired and he was planning to engage in

online meetings. In addition to meeting with a counselor at Butler Behavior Health, Father

claims he is working with a social worker at Butler Behavior Health to learn how to budget

finances and save money. Father travels to his counseling appointments by using an

Uber or having a friend drive him.

       {¶ 25} Father testified that he has not been employed throughout the life of the


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case but he receives over $1,000 a month in social security disability income. He

indicated he was also trying to find a job but has had trouble finding anything as a result

of his felony theft conviction. He stated he has applied for approximately ten jobs but has

not been hired at any of those places. The majority of Father's income is used to pay for

lodging at the hotel where he and Mother are currently staying.

       {¶ 26} Father admitted he has not completed parenting classes or anger

management. Regarding parenting classes, Father indicated he had not taken them

because "it's financial and normally [Mother] takes care of all communications with us."

He has not engaged in anger management courses because he believes he does not

"really have anger issues."

       {¶ 27} Father testified that he has not visited with the children since November

2023 because he lost his dog sitter and cannot take the dog with him. Although the dog

was described as well-behaved and well-trained, Father would not consider leaving the

dog at the hotel by itself to attend the visits because, "the dog means everything to me"

and "I don't want to leave her." According to Father, the dog recently became his

registered therapy dog.

       {¶ 28} On cross-examination, Father admitted that "nothing has changed" since

the children were removed from his and Mother's care in 2022. According to Father,

"[w]e're still kind of in the same boat but we're almost . . . getting out of it."

       {¶ 29} On March 14, 2024, after considering the foregoing testimony, the juvenile

court issued a decision granting the Agency's motion for permanent custody of the

children. The court found that the children had been in the Agency's custody for 12 or

more months of a consecutive 22-month period and that the children could not be placed

with Mother or Father within a reasonable time period and should not be placed with them.


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After considering the best interest factors set forth in R.C. 2151.414(D)(1), the court

determined that My.B., Me.B., and T.B. were in need of legally secure permanent

placement, which could only be achieved with a grant of permanent custody to the

Agency. The court noted that

             [n]either parent has completed all of the case plan services.
             Neither Mother nor Father can provide adequate housing for
             the Children. That was the primary issue at the beginning of
             this case and 19 months later, it continues to be the case now.
             Neither Mother nor Father is in a position to take care of the
             Children.

             ...

             Here, the evidence clearly and convincingly shows that the
             problems that led to the Children's removal have not been
             substantially remedied.

      {¶ 30} Mother and Father separately appealed the juvenile court's decision, each

raising a single assignment of error.    For ease of discussion, we will address the

assignments of error together.

      {¶ 31} Mother's Assignment of Error:

      {¶ 32} THE JUVENILE COURT'S DECISION TO GRANT PERMANENT

CUSTODY TO [THE AGENCY] WAS AGAINST THE MANIFEST WEIGHT OF THE

EVIDENCE AND FAILED TO MEET THE CLEAR AND CONVINCING STANDARD.

      {¶ 33} Father's Assignment of Error:

      {¶ 34} THE TRIAL COURT ERRED IN FINDING, BY CLEAR AND CONVINCING

EVIDENCE, THAT THE BEST INTEREST OF THE CHILDREN, PURSUANT TO THE

FACTORS SET FORTH IN R.C. 2151.414(D), WAS REACHED BY GRANTING

PERMANENT CUSTODY TO [THE AGENCY].

      {¶ 35} Mother and Father challenge the juvenile court's decision to grant

permanent custody of the children to the Agency, contending that the decision was

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against the manifest weight of the evidence and that there was not clear and convincing

evidence presented demonstrating that permanent custody was in the children's best

interests.

       {¶ 36} Before a parent's constitutionally protected liberty interest in the care and

custody of his or her child may be terminated, the state must prove by clear and

convincing evidence that the statutory standards for permanent custody have been met.

In re K.W., 2015-Ohio-4315, ¶ 11 (12th Dist.), citing Santosky v. Kramer, 455 U.S. 745,

769 (1982). Under R.C. 2151.414(B)(1), a juvenile court may terminate parental rights

and award permanent custody of a child to a children services agency if the court makes

findings pursuant to a two-part test. In re G.F., 2014-Ohio-2580, ¶ 9 (12th Dist.); In re

A.M., 2020-Ohio-5102, ¶ 18. First, the juvenile court must find that the grant of permanent

custody to the agency is in the best interest of the child, utilizing, in part, the factors set

forth in R.C. 2151.414(D).      In re D.K.W., 2014-Ohio-2896, ¶ 21 (12th Dist.); R.C.

2151.414(B)(1). Second, pursuant to R.C. 2151.414(B)(1)(a) to (e), the juvenile court

must find that any of the following apply: (1) the child is abandoned; (2) the child is

orphaned; (3) the child has been in the temporary custody of the agency for at least 12

months of a consecutive 22-month period; (4) where the preceding three factors do not

apply, the child cannot be placed with either parent within a reasonable time or should

not be placed with either parent; or (5) the child or another child in the custody of the

parent from whose custody the child has been removed, has been adjudicated an abused,

neglected, or dependent child on three separate occasions. In re C.B., 2015-Ohio-3709,

¶ 10 (12th Dist.). Only one of these findings must be met to satisfy the second prong of

the two-part permanent custody test. In re H.G., 2023-Ohio-4082, ¶ 58 (12th Dist.).

       {¶ 37} "Because R.C. 2151.414 requires that a juvenile court find by clear and


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convincing evidence that the statutory requirements are met, 'the sufficiency-of-the-

evidence and/or manifest-weight-of-the-evidence standards of review are the proper

appellate standards of review of a juvenile court's permanent-custody determination . . .

. '" In re E.V., 2024-Ohio-192, ¶ 25 (12th Dist.), quoting In re Z.C., 2023-Ohio-4703, ¶

11.3 Sufficiency of the evidence is a test of adequacy to determine if the evidence is

legally sufficient to sustain a decision, while weight of the evidence relates to the issue of

persuasion and the effect of the evidence in inducing belief. In re Z.C. at ¶ 13; Eastley v.

Volkman, 2012-Ohio-2179, ¶ 19. "Although sufficiency and manifest weight are distinct

legal concepts, a finding that a judgment is supported by the manifest weight of the

evidence necessarily includes a finding that sufficient evidence supports the judgment."

In re B.O., 2024-Ohio-1732, ¶ 37 (12th Dist.), citing, In re L.B., 2020-Ohio-3045, ¶ 29

(10th Dist.).

        {¶ 38} In determining whether a juvenile court's decision to grant a motion for

permanent custody is against the manifest weight of the evidence, an appellate court

"'weighs the evidence and all reasonable inferences, considers the credibility of witnesses

and determines whether in resolving conflicts in the evidence, the finder of fact clearly

lost its way and created such a manifest miscarriage of justice that the judgment must be

reversed and a new trial ordered.'" In re S.M., 2019-Ohio-198, ¶ 16 (12th Dist.), quoting

Eastley at ¶ 20. "In weighing the evidence, there is a presumption in favor of the findings

made by the finder of fact and evidence susceptible to more than one construction will be

construed to sustain the [decision]." In re M.A., 2019-Ohio-5367, ¶ 15 (12th Dist.).



3. "Clear and convincing evidence is that measure or degree of proof which is more than a mere
'preponderance of the evidence,' but not to the extent of such certainty as is required 'beyond a reasonable
doubt' in criminal cases, and which will produce in the mind of the trier of facts a firm belief or conviction as
to the facts sought to be established." Cross v. Ledford, 161 Ohio St. 469 (1954), paragraph three of the
syllabus.

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        {¶ 39} With respect to the second part of the two-part permanent custody test, the

juvenile court determined that My.B., Me.B., and T.B. had been in the temporary custody

of the Agency for at least 12 months of a consecutive 22-month period pursuant to R.C.

2151.414(B)(1)(d) and that the children could not be placed with Mother or Father within

a reasonable time or should not be placed with either of them pursuant to R.C.

2151.414(B)(1)(a).       Neither Mother nor Father contest the juvenile court's 12 of 22

determination, and the record reflects that the children have been in the Agency's custody

since being removed from Mother's and Father's care on June 30, 2022. 4 Mother seeks

to challenge the trial court's alternative finding—that the children could not be placed with

either parent within a reasonable time or should not be placed with either parent.

However, as noted above, only one of the R.C. 2151.414(B)(1) findings must be met to

satisfy the second prong of the two-part permanent custody test. In re H.S., 2023-Ohio-

4082 at ¶ 58. Because the juvenile court's "12 of 22" finding satisfies the second prong

of permanent custody test, we need not consider Mother's arguments relating to the

court's alternative finding that the children could not be placed with either parent within a

reasonable time. The issue is moot. See In re J.N.L.H., 2022-Ohio-3865, ¶ 26 (12th

Dist.); In re C.P., 2022-Ohio-3320, ¶ 27.

        {¶ 40} The only issue remaining is whether an award of permanent custody to the

Agency was in the children's best interest. When considering the best interest of a child

in a permanent custody case, the juvenile court is required under R.C. 2151.414(D)(1) to



4. With respect to the 12 of 22 provision, temporary custody is deemed to begin on the date that the child
is adjudicated as abused, neglected, or dependent or 60 days after the child's removal from the home,
whichever occurs earlier. R.C. 2151.414(B)(1)(d); In re S.H., 2015-Ohio-1763, ¶ 21 (12th Dist.). My.B.,
Me.B., and T.B. were removed from their parent's home on June 30, 2022. By operation of R.C.
2151.414(B)(1)(d), temporary custody is deemed to begin 60 days after their removal, or on August 29,
2022, rather than on the later date of adjudication, which occurred on August 31, 2022. Therefore, at the
time the Agency moved for permanent custody on November 13, 2023, the children had already been in
the Agency's temporary custody for more than 14 months.

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consider all relevant factors. In re D.E., 2018-Ohio-3341, ¶ 32 (12th Dist.). These factors

include, but are not limited to: (1) the interaction and interrelationship of the child with the

child's parents, siblings, relatives, foster caregivers and out-of-home providers, and any

other person who may significantly affect the child; (2) the wishes of the child, as

expressed directly by the child or through the child's guardian ad litem; (3) the custodial

history of the child; (4) the child's need for a legally secure permanent placement and

whether that type of placement can be achieved without a grant of permanent custody to

the agency; and (5) whether any of the factors listed in R.C. 2151.414(E)(7) thru (11)

apply in relation to the parents and child. In re J.C., 2018-Ohio-1687, ¶ 22 (12th Dist.),

citing R.C. 2151.414(D)(1)(a) thru (e). The factors in R.C. 2151.414(E)(7) through (11)

involve a parent's having been convicted of or pled guilty to specific criminal offenses

against the child, the child's sibling, or another child who lived in the parent's household;

a parent's withholding of medical treatment or food from the child; a parent's repeatedly

placing the child at substantial risk of harm because of alcohol or drug abuse; a parent's

abandoning the child; and a parent's having had parental rights as to the child's sibling

involuntarily terminated. In re A.M., 2020-Ohio-5102 at ¶ 19.

       {¶ 41} The record reflects that the court considered the best interest factors set

forth in R.C. 2141.414(D) and found that it was in My.B.'s, Me.B.'s, and T.B.'s best interest

to grant permanent custody to the Agency. Mother and Father challenge the court's

finding, arguing that the court failed to give sufficient weight to the bond and relationship

the children have with them and the steps they have taken to secure housing, which

included paying down eviction judgments and putting their names on apartment waiting

lists. Both Mother and Father believe the Agency could have done more to reunify them

with their children, especially as it relates to assisting with housing.


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        {¶ 42} After our review of the record, we find no merit to Mother's or Father's

arguments. The juvenile court's determination regarding the best interest of My.B., Me.B.,

and T.B. is supported by clear and convincing evidence and was not against the manifest

weight of the evidence. While evidence was presented that Mother, Father, and the

children are bonded with one another and interact well during visitations, neither Mother

nor Father's visitations ever progressed beyond supervised visitation. Though Mother

regularly attends visitations, Father voluntarily stopped visiting the children near the end

of November 2023. He did so because he would rather stay home with his dog, who he

stated, "means everything to me." He has not had any contact with the children since

then.

        {¶ 43} The bond Mother and Father share with the children is but one factor in the

best interest test, and "no one factor [in the best interest test] is entitled to more weight

than the other factors." In re A.C., 2023-Ohio-836, ¶ 54 (10th Dist.), citing In re Schaefer,

2006-Ohio-5513, ¶ 56. In addition to considering the children's relationship with Mother

and Father, the court also considered the children's custodial history, their current living

situation, their relationship with the foster family, and their wishes, as expressed to the

CASA. The children have been in the Agency's temporary custody since being removed

from Mother's and Father's care on June 30, 2022. They spent less than a month in group

homes before being placed in their current foster placement in July 2022. By all accounts,

the children are doing well in their current placement. They have made significant strides

in their schooling, despite the three-year gap in their education. The children discussed

their custodial wishes with the CASA, indicating they were relieved to be able to attend

school and no longer be homeless and they were very happy in their foster home. My.B.

indicated her desire to remain in her current foster placement until she graduates from


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high school. The foster parents have indicated their willingness to be a permanent

placement for the children until they turn 18.

       {¶ 44} The juvenile court also considered Mother's and Father's progress on case

plan services, the children's need for a legally secure placement, whether such placement

could be achieved without a grant of permanent custody to the Agency, and whether

Mother and Father had remedied the conditions that led to the children's removal from

the home. The record reflects that Mother and Father made very little progress on their

case plan services other than completing a psychological assessment. Though Father

claimed he was engaging in therapeutic services following his bipolar I diagnosis, Father

never informed the Agency of his therapeutic provider or the frequency of his services.

He was also unable to recall the name of his counselor when questioned at the permanent

custody hearing.

       {¶ 45} The evidence presented at the hearing established that neither Mother nor

Father had completed or even begun parenting classes or anger management. Father

denied that he had anger issues and needed anger management treatment. Mother did

not feel she or Father needed to take parenting classes, as the children were teenagers

and she felt parenting classes were for "people with younger kids." Though Mother

indicated at the permanent custody hearing that it was the cost of parenting classes that

prevented her from taking them, she never expressed this to the CASA or Agency

supervisor. Mother also did not know what cost, if any, was associated with taking an

online parenting class when asked. As the juvenile court noted, "[t]he [c]hildren are not

a priority in [Mother's and Father's] lives, as evidenced by their lack of full compliance of

case plan services."

       {¶ 46} Evidence was also presented demonstrating that the parents did not make


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an effort to attend the children's medical appointments or counseling sessions. Though

the children are healthy now, T.B. once had significant dental problems that required

multiple appointments and procedures.                 Mother and Father never attended those

appointments.        Mother and Father also never attempted to attend the children's

counseling appointments or follow up on their care.

        {¶ 47} Mother and Father failed to obtain stable housing or demonstrate sufficient

income to meet the needs of the children throughout the life of the case. Despite the

parents' combined income from Mother's job and Father's social security disability, Mother

and Father could not provide food, clothing, shelter or other basic necessities for the

children. As of the date of the permanent custody hearing, which was more than 19

months after the Agency first became involved in the case, Mother and Father were still

homeless, staying at hotels, in a tent, or in an RV that often broke down and lacked

running water and electricity. Though Mother claims that she is working towards obtaining

housing by paying down debt incurred from past evictions and by putting her name on

various waiting lists to rent a two-bedroom apartment, the fact remains that neither she

nor Father have demonstrated they can provide a stable, safe home for the children.5

        {¶ 48} Mother and Father suggest that the Agency should have done more to help

them find housing during the pendency of the case. We find no merit to this argument.

The record reflects that the Agency made reasonable efforts to reunify the family and

assist Mother and Father in finding housing. See R.C. 2151.419(A)(1) (requiring that a



5. We note that Father filed a letter with this court on July 31, 2024, contending that his and Mother's
financial circumstances have improved and that they are now able to provide stable housing for the children.
However, "as an appellate court, our review is strictly limited to the record before us and we cannot consider
matters or facts that are outside the record or were not part of the trial court proceedings." Whitling v.
Whitling, 2017-Ohio-8197, ¶ 16 (12th Dist.). For this reason, Father's letter was struck and was not
considered by this court in rendering our decision. See In re M.B., et al., Warren No. CA2024-03-009 (Aug.
6, 2024) (Entry Striking Letter filed by Appellant, [Father], on July 31, 2024).

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juvenile court determine whether reasonable efforts have been made to reunify the family

before a parent's parental rights may be terminated). We note that "reasonable efforts"

does not mean all available efforts. In re M.G., 2023-Ohio-1316, ¶ 39-40 (12th Dist.); In

re E.S., 2021-Ohio-345, ¶ 70 (12th Dist.). "Otherwise, there would always be an argument

that one more additional service, no matter how remote, may have made reunification

possible." In re K.B., 2015-Ohio-2732, ¶ 50 (12th Dist.). "When examining whether a

children services agency made reasonable efforts to reunify a family, the issue is not

whether the agency could have done more, but whether it did enough to satisfy the

reasonableness standard under the statute." In re T.P., 2016-Ohio-72, ¶ 29 (12th Dist.).

Here, the record reflects that the Agency made reasonable efforts to reunify Mother and

Father with the children through the creation of the case plan which offered of a multitude

of services which Mother and Father did not engage in leading up to the permanent

custody hearing. As it relates to housing specifically, the record reveals that the Agency

provided Mother and Father with resource guides on suitable housing. The Agency also

recommended shelters where Mother and Father could stay until they got on their feet

financially, so that money did not have to be spent on hotel rooms. Mother and Father

elected not to pursue those shelters, as they did not allow pets and Father refused to stay

anywhere without his dog. Mother and Father chose to prioritize the needs of their dog

over the children's need for a stable home.

       {¶ 49} Despite opportunities to do so, Mother and Father have not shown over the

history of the case that they are committed or able to care for the children. Based upon

the evidence presented at the hearing, it is clear that Mother's and Father's lack of

commitment to the case plan and their failure to put their children's needs ahead of their

own have prevented Mother and Father from providing the children with a safe and stable


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living environment. At the permanent custody hearing, both Mother and Father admitted

that in the nineteen months that had passed since the Agency's first became involved

with the family, "nothing has changed." Mother and Father are still homeless, their

financial circumstances have not improved, and they are unable to provide basic

necessities for the children. As the juvenile court noted, the children are in need of legally

secure permanent placement, and "[n]either Mother nor Father is in a position to take

care of the [c]hildren."

       {¶ 50} As this court has previously recognized, "'[a] child's best interests are

served by the child being placed in a permanent situation that fosters growth, stability,

and security.'" In re I.C., 2022-Ohio-3101, ¶ 45 (12th Dist.), quoting In re D.E., 2018-

Ohio-3341 at ¶ 60. The juvenile court's decision granting permanent custody to the

Agency provides this for the children. Accordingly, we find that the juvenile court's

decision to grant permanent custody of My.B., Me.B., and T.B. to the Agency was

supported by clear and convincing evidence and was not against the manifest weight of

the evidence. Mother's and Father's assignments of error are overruled.

       {¶ 51} Judgment affirmed.


       BYRNE, P.J. and M. POWELL, J., concur.




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